
PER CURIAM.
Jesse W. Reed ("Movant") appeals from a judgment denying his Rule 24.0351 motion for post-conviction relief following an evidentiary hearing. On appeal, Movant raises four points, asserting claims of error involving double jeopardy, ineffective assistance of counsel, and disproportionate sentences. We have reviewed the briefs of the parties and the record on appeal and find the claim of error to be without merit. An extended opinion would have no precedential value. We have, however, provided a memorandum opinion only for the use of the parties setting forth the reasons for our decision.
We affirm the judgment pursuant to Rule 84.16(b).

All rule references are to Missouri Supreme Court Rules (2017).

